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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF DELAWARE

        VLSI TECHNOLOGY LLC,

                            Plaintiff,

                 v.                              Civil Action No. 18-966-CFC

        INTEL CORPORATION,

                            Defendant. :


  Brian E. Farnan, Michael J. Farnan, FARNAN LLP, Wilmington, Delaware;
  Christopher Abernethy, Morgan Chu, Benjamin W. Hattenbach, Leah
  Johannesson, Amy E. Proctor, Dominik Slusarczyk, S. Adina Stohl, Charlotte J.
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  Defendant

                           MEMORANDUM OPINION

  March 26, 2019
  Wilmington, Delaware
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                                CONNOLLY, ITED ST                ES DISTRICT JUDGE


        Plaintiff VLSI Technology LLC has sued Defendant Intel Corporation for

  patent infringement. VLSI alleges that Intel has directly and willfully infringed

  and, unless enjoined, will directly and willfully infringe five patents relating to

  computer chip technology-U.S. Patent Nos. 6,212,633 (the "#633 patent"),

  7,246,027 (the "#027 patent"), 7,247,552 (the "#552 patent"), 7,523,331 (the

  "#331 patent"), and 8,081,026 (the "#026 patent"). See D.I. 1 at ,r,r 15, 37, 46, 60,

  68, 88, 97, 119, 128, 148. VLSI also alleges that Intel has indirectly infringed and,

  unless enjoined, will indirectly infringe the #633, #027, #331, and #026 patents.

  See id. at ,r,r 32, 33, 55, 56, 114, 115, 143, 144. VLSI's indirect infringement

  claims are based on allegations of both induced infringement and contributory

  infringement. VLSI also seeks in the complaint's prayer for relief"enhanced

  damages pursuant to 35 U.S.C. § 284." Id. at 46.

        Intel filed a motion to dismiss "VLSI' s claims for willful infringement" of

  the #633, #552, #331, and #026 patents and VLSI's claims for indirect

  infringement of the #633, #331, and #026 patents. D.I. 17. As the Patent Act, 35

  U.S.C. § 1 et seq., does not create a cause of action for willful infringement, I

  understand Intel's motion to dismiss "VLSI' s claims for willful infringement" to

  be a motion, with respect to the #633, #552, #331, and #026 patents, to dismiss
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  VLSI's willfulness-based claim for enhanced damages under 35 U.S.C. § 284 and

  strike from the complaint the allegations of willful infringement. See generally

  Deere & Co. v. AGCO Corp., 2019 WL 668492, at *3-4 (D. Del. Feb. 19, 2019).

        To state a claim upon which relief can be granted, a complaint must contain

  "a short and plain statement of the claim showing that the pleader is entitled to

  relief." FED. R. Crv. P. 8(A)(2). Detailed factual allegations are not required, but

  the complaint must set forth sufficient factual matter, accepted as true, to "state a

  claim to relief that is plausible on its face." Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 570 (2007). A claim is facially plausible when the factual content allows the

  court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). When

  considering a Rule 12(b)(6) motion to dismiss, the court must accept as true all

  factual allegations in the complaint and view them in the light most favorable to

  the plaintiff. Umlandv. Planco Fin. Servs., 542 F.3d 59, 64 (3d Cir. 2008).

        Under Federal Circuit law, to allege plausibly a willfulness-based enhanced

  damages claim, VLSI must allege facts from which it can be plausibly inferred

  both that Intel knew about the asserted patents and that Intel knew or should have

  known that its conduct amounted to infringement of those patents. See Deere,

  2019 WL 668492, at *4 (citing WCM Indus., Inc. v. JPS Corp., 721 F. App'x 959,

  970 (Fed. Cir. 2018); Arctic Cat Inc. v. Bombardier Recreational Prods. Inc., 876



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  F.3d 1350, 1371 (Fed. Cir. 2017); and WesternGeco L.L.C. v. Ion Geophysical

  Corp., 837 F.3d 1358, 1362 (Fed. Cir. 2016), rev'd on other grounds, 138 S. Ct.

  2129 (2018)). "[I]nduced infringement[] [and] contributory infringement require[]

  [both] knowledge of the patent[ s] in suit and knowledge of patent infringement."

  Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1926 (2015).

        Knowledge of the Asserted Patents

        The complaint plausibly alleges that Intel knew of the existence of the #633,

  #331, and #026 patents, as it alleges that Intel cited these patents in Intel's

  prosecutions of other patents. D.I. 1 at ,r,r 31, 113, 142. The complaint, however,

  fails to allege any facts from which it can be plausibly inferred that Intel knew or

  should have known of the existence of the #552 patent.

        With respect to the #552 patent, the complaint alleges only that "Intel has

  had knowledge of the [#]552 Patent at least since the filing of this complaint, and if

  it did not have actual knowledge prior to that time, it was willfully blind to the

  existence of the [#]552 Patent based on, for example, its publicly-known corporate

  policy forbidding its employees from reading patents held by outside companies or

  individuals." Id. at ,r 84. This allegation is deficient in two respects. First, the

  complaint itself cannot serve as the basis for a defendant's actionable knowledge.

  The purpose of a complaint is not to create a claim but rather to obtain relief for an

  existing claim. Second, knowledge based on willful blindness exists only where



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  "{l) the defendant[] subjectively believe[d] that there [was] a high probability that

  a fact exists and (2) the defendant[] [took] deliberate actions to avoid learning of

  that fact." Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011).

  Here, there is no allegation in the complaint from which it could be plausibly

  inferred that Intel subjectively believed that there was a high probability that the

  #552 patent existed; and thus there is no basis from which to conclude that Intel

  was willfully blind to the #552 patent's existence. Accordingly, I will dismiss the

  claim for enhanced damages insofar as it is based on the #552 patent. (VLSI did

  not allege induced or contributory infringement of the #552 patent.)

        Knowledge ofPatent Infringement

        VLSI argues in it briefing that its allegations of willful blindness make it

  plausible that Intel knew or was willfully blind about whether Intel's products

  infringe the asserted patents. In VLSI's words:

                      In addition to willfully blinding itself to VLSI 's
               patents, Intel also willfully blinded itself to its
               infringement of those patents. For example, Intel's
               "publicly-known corporate policy forbidding its
               employees from reading patents held by outside
               companies or individuals" also prevented its engineers
               from comparing those patents to Intel's products, yet it is
               precisely that comparison that would have resulted in
               Intel's actual knowledge of its infringement.

  D.I. 27 at 14 (emphasis added) (quoting D.I. 1 at ,r 31). But VLSI alleges in its

  complaint only that "Intel has been willfully blind to [each] patent's existence."



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  D.I. 1 at ,r,r 31, 54, 113, 142 (emphasis added); see also D.I. 1 at ,r 84 ("Intel ...

  was willfully blind to the existence of the [#]552 Patent ....") (emphasis added).

  VSLI never alleges that Intel has been willfully blind to its infringement of those

  patents. Accordingly, with respect to the #633, #552, #331, and #026 patents, I

  will strike from the complaint the allegations of willful infringement and dismiss

  the enhanced damages claim; and with respect to the #633, #331, and #026 patents,

  I will dismiss the claims for induced and contributory infringement.

         The Court will issue an order consistent with this Memorandum Opinion.




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